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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

 

 

UNITED STATES DISTRICT COURT §§ ,§ ,EU_
b;§§~_§:§; §;§ {” Cx,il.,€§l
for the !:,L, 535
District of Colorado BYWBE?` six
___lOth Division
David Keith Jenson Case No'.-|S °" ( / b v 0 1 2 4 G
(to be filled in by the Clerk’s Oj‘ice)
Plaintz_')j"(s)

(Write the fall name of each plaintzf”who is filing this complaint
If the names of all the plainan cannot fit in the space above,
please write “see attached ” in the space and attach an additional
page with the ji¢ll list of names. )

.v.

Jll!'y Trial$ (checkone) EYOS ENO

The Green Solution Managemer\t (TGSM)

 

Defendant(s)
(Write the jizll name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached ” in the space and attach an additional page
with the full list ofnames.)

\/\_/\./\/\/\./\/\,/\./\/\/\JV\_/\./

COMPLAINT FOR A CIVIL CASE

l. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint Attach additional pages if

 

 

 

 

needed.
Name The Green So|ution Management (TGSM)
Street Address 700 17th' Street Suite 2200
City and County Denver
State and Zip Code Co|orado 80202
Telephone Number (720) 428-8882

 

 

E-mail Address

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is all

individual, a government agency, an organization, or a corporation F or an individual defendant,
include the person's job or title (sznown). Attach additional pages if needed.

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Pro Se 1 (Rev. 12/16) Complaint foraCivil Case

Defendant No. 1

 

 

 

 

 

Name Eddie Carraro

10b 01' Tiflc (lfk"ow") \hce President, Human Resources
Street AddrCSS 700 17th Street Suite 2200

City and County Denver

State and Zip Code Co|orado 80202

Telephone Number (720) 428.3382

 

E-Illail Addr€SS (lfbwwn) eddie.canaro@tg§.com

 

Defendant No. 2

Name

 

Job or Title (ifknown)
Street Address

 

 

City and County

 

State and Zip Code
Telephone Number

 

 

E-mail Address afknown)

 

Defendant No. 3

Name

 

Job or Title (ifrmown)
Street Address

City and County
State and Zip Code

 

 

 

 

Telephone Number
E-mail Address (ifknown)

 

 

Defendant No. 4

Name

 

Job or Title (sznown)
Sn'eet Address

City and County
State and Zip Code

 

 

 

 

Telephone Number
E-mail Address (ifknown)

 

 

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case
[[. Basis for Jurisdjction

Federal courts are courts of limited jurisdiction (]imited power). Generally, only two types of cases can be
heard in federal court1 cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff

What is the basis for federal court jurisdiction? (cheek all that apply)
-Fedei~al question I:I Diveisiiy of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction ls a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.
Title Vll, 42 USC 2000d, 42 USC 20006 and Section 1981CRA of 1866

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiii`(s)

a. If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the

 

Sfate Of (name)

 

b. If the plaintiH` is a corporation
The plaintiff, (name) , is incorporated
under the laws of the State of (name) ,
and has its principal place of business in the State of (name)

 

 

 

(If more than one plaintljfis named in the complaint attach an additional page providing the
same information for each additional plaintl#)

2. The Defendant(s)

a. If the defendant is an individual

 

 

The defendant, (name) , is a citizen of
the State of (name) . Or is a citizen of
(foreign nation)

 

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lll. Statement of C|alm

On 11/25/2016, the plaintiff complained of incidents of workplace discrimination against his manager Justin Towers to TGS
Manager, Chris Aderhold. On 11/29/16, Mr. Jenson went to TGS' corporate office to lodge an official complaint Mr. Jenson
requested to speak with three separate human resources personnel including Eddie Carraro, Brad Faulk and Heldi Fiegel,
none of them made themselves available to Mr. Jenson or followed up with the Claimant prior to his suspension on 12/6/16.
The complaint was based on the fact Mr. Jenson's job duties were increased significantly by an employee who was not his
manager Justin Towers.

On approximately 10/7/16, Mr. Jenson was requested by Lou Crawford, a person outside the Claimant's chain of command
to assume the duties of cash coordinator in addition to his duties of Asset Protection Associate (APA). Although Ms.
Crawford stated Mr. Towers authorized the additional duties to be absorbed by the Claimant, Mr. Towers refused to speak
with Mr. Jenson directly regarding the increased workload despite several attempts by Mr. Jenson to address this issue with
his manager Justln Towers regarding his new workload which Mr. Jenson perceived to be an unfair and unequal work load
compared to all other similarly situated APAs. On approximately 11/8/16, while serving in the capacity of both APA and
cash coordinator, Mr. Jenson was placed on a final written wamlng by Mr. Towers for a singular incident involving his APA
duties. When Mr. Jenson attempted to speak with TGS management and human resources regarding what he believed to
be discriminatory practices and hostile work environmentl human resources and TGS managers with the notable exception
of manager Chris Aderhold, refused to meet with the Claimant.

Fina|ly on 12/6/16, Mr. Jenson raised his discrimination complaints along with other compliance issues that were recently
brought to the claimant's attention to his new manager Matthew Smith, resulting in the Claimant being suspended from work
within 30 minutes of voicing his complaints On 12/7/16, prior to his termination, Mr. Jenson emailed human resources VP
Eddie Carraro, a memorandum of conversation regarding an 11/29/16, meeting between manager Greg Su|livan and himself
in which Mr. Su|livan verbally retaliated against Mr. Jenson for raising his discrimination concerns and compliance concerns
regarding the use of known toxic additives a violation of MED regulations Mr. Jenson was asked by Eddie Carraro what
would it take to resolve these employment issues Mr. Jenson responded with an amount $600,000 and was terminated on
12/12/16.

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Pro Se 1 (Rev. 12/16) Complajnt for a Civil Case

 

V. Certification and Closing

Under Federal Rule of Civil Procedure ll, by signing below, I certify to the best of my lmowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identitied, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule ll.

A.

For Parties Without an Attorney

I agree to provide the Clerk’s Ofiice with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on tile with the Clerk’s Office may result

in the dismissal of my case.

Date of signing:

Signature of Plaintiff
Printed Name of Plaintiff

For Attoroeys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

05/19/201 8

M/ma MQMM,§W~/

David Keith Jenson

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